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1    BENJAMIN B. WAGNER
     United States Attorney
2    KIRK E. SHERRIFF
     HENRY Z. CARBAJAL III
3    Assistant United States Attorneys
     2500 Tulare Street, Suite 4401
4    Fresno, CA 93721
     Telephone: (559) 497-4000
5    Facsimile: (559) 497-4099

6    Attorneys for Plaintiff
     United States of America
7

8                                   IN THE UNITED STATES DISTRICT COURT

9                                      EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                               CASE NO. 1:12-CR-0213 AWI BAM

11                                 Plaintiff,                STIPULATION & ORDER
                                                             CONTINUING SENTENCING HEARING
12
                             v.                              Old Sentencing Date: July 28, 2014
13
                                                             New Sentencing Date: April 6, 2015
14   RICARDO FABIAN SALINAS,                                 Time:                10:00am
                                                             Court:               Two
15                                 Defendant.                       (Hon. Anthony W. Ishii)

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21           Defendant Ricardo Fabian Salinas pleaded guilty on May 6, 2013 to count 2 of the indictment, bank
22   fraud, in violation of 18 U.S.C. § 1344. Sentencing is currently set for July 28, 2014, at 10:00 a.m.
23           To allow additional time for Mr. Salinas to fulfill his obligations under the plea agreement, the
24   parties hereby stipulate and jointly request that the Court order that the sentencing hearing in this case be
25   continued from July 28, 2014 to April 6, 2015, at 10:00 a.m., or to the earliest date thereafter that is
26   convenient to the Court. The parties further stipulate and jointly request that the Court extend the deadline to
27   submit informal objections to the Pre-Sentence Report (PSR) to three weeks prior to the continued
28   sentencing date, and extend the deadline to file formal objections to the PSR to one week prior to the

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1    continued sentencing date.

2             IT IS SO STIPULATED.

3    Dated: July 8, 2014

4                                                            Respectfully Submitted,

5                                                            BENJAMIN B. WAGNER
                                                             United States Attorney
6
     /s/ John Garland
7    (authorized on 7/8/14)                                  /s/ Kirk E. Sherriff
     JOHN GARLAND                                            KIRK E. SHERRIFF
8    Attorney for defendant Ricardo Salinas                  HENRY Z. CARBAJAL III
                                                             Assistant United States Attorneys
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12                                                      ORDER

13            The Court has reviewed and considered the stipulation of the parties to continue the sentencing

14   hearing in this case. Good cause appearing, IT IS ORDERED that the sentencing hearing as to defendant

15   Ricardo Salinas is continued from July 28, 2014 to April 6, 2015, at 10:00 a.m., and that the deadlines to

16   submit informal objections and to file formal objections to the Pre-Sentence Report are extended as set forth

17   above.

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19   IT IS SO ORDERED.
20   Dated: July 8, 2014
21                                                 SENIOR DISTRICT JUDGE

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